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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                               No. 23-cv-3009


United States of America,

       Plaintiff,
                                                 NOTICE OF WITHDRAWAL OF
       v.
                                                       APPEARANCE
AgriStats, Inc.,

       Defendant.



TO THE CLERK AND ALL PARTIES OF RECORD:

      Pursuant to Local Rule 83.7(a), Jonathan R. Marx hereby withdraws his

appearance as counsel for Plaintiff State of North Carolina in the above-captioned

matter. The State of North Carolina will be represented by Jasmine McGhee and

Kunal Choksi of the North Carolina Department of Justice, who have entered

appearances in this matter.

      Respectfully submitted the 27th day of June, 2024.

                                          /s/ Jonathan R. Marx
                                          Jonathan R. Marx
                                          Special Deputy Attorney General
                                          North Carolina Department of Justice
                                          Post Office Box 629
                                          Raleigh, North Carolina 27602
                                          Phone: (919) 716-6000
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                                          jmarx@ncdoj.gov
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                          CERTIFICATE OF SERVICE

      I certify that I have this day electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all

counsel and parties of record.

      This the 27th day of June, 2024.

                                            /s/ Jonathan R. Marx
                                            Jonathan R. Marx
                                            Special Deputy Attorney General
